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     STREET INDE OFFICER PROCEDURES CONT.
     Updating the Outside Street Inde
           Every hour until 6:00 p.m., LINE OUT the names of all Voters on the OUTSIDE
           STREET INDE to match the copy of the OFFICIAL TABLE STREET INDE .




        DO NOT mark ANY Street Index with the time a Voter voted.
        DO NOT mark the INSIDE STREET INDE .
     The posted Outside Street Index is used primarily by individuals working with political
     parties, campaigns or specific party issues. The information contained in the Street
     Index gives a better idea of how much additional canvassing is required. Individuals
     usually look at the Street Index to find out names of those who have not voted.
     Rules on handling the Street Inde
           Individuals looking at the Street Index copies MAY NOT SIT at the Official Table.
           Individuals looking at the Street Index copies MAY NOT REMOVE the Index from
           the immediate area. It can be removed from the wall for review, however, it must
           be re-posted.
           If someone is reviewing the Outside Street Index and the Street Index Officer is
            scheduled to update it, the Outside Street Index must be surrendered to Officer.
         NOTE I AN PERSON OR GROUP RE USES TO OLLOW THE ABO E RULES LISTED
                               IMMEDIATEL CONTACT THE
                PRECINCT COORDINATOR OR INSPECTOR HOTLINE     -

                                             OTHER DUTIES
     Check the Outside of Polling Place to make sure that no Electioneering Materials are situated
      less than 100 feet from the entrances to the Polling Place every time Outside Street Inde is
                                                updated.
                                          Reference Mater als
                     The Gu de      b Cards What T D If and P ll W rker Manual
                OFFICIAL TABLE ROLES WILL BE ROTATED THROUGHOUT THE DAY


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                  Roster-Index Officer
          In charge of the Roster-Index and Pink Roster on the
                              Official Table




             Roster-Index                    Pink Roster-Index
                                     55




                  Roster-Index Officer
           In charge of the Roster-Index and Pink Roster on the
                                Official Table
     What is the Roster-Index?
     It is a list of Voters who are registered to
     Vote at the assigned Precinct.
                                                         Roster-Index
     What is the Pink Roster?                       (or White Roster-Index)
     It is a list of Voters who are registered to
     Vote at the assigned Precinct after the
     White Roster-Index was printed.
     It is an extension of the Roster-Index.          Pink Roster-Index
                                     56




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                         ROSTER-INDE OFFICER PROCEDURES
                        1. GREET and ASK VOTER to state NAME and ADDRESS (residence).
                            Example: G d m rn n ! May I ha e y ur name and address please
                         2. LOCATE name and address on the Roster-Index, then REPEAT name
                            and address back to Voter, per Elections Code.
                         3. FILL IN BUBBLE next to Voter’s address.



                                                        Deepa Abraham
                                                                             1567 Bluebell Ct




 4. ASK VOTER TO SIGN Roster-Index and write residence address.
   Example: Please s n here and r te y ur res dence address here
               ho in ote he e to si n nd ite the dd ess
5. DIRECT Voter to the Ballot Officer to receive Ballot Card(s).
    Example:    u may n pr ceed t ur Ball t Off cer h        ll ssue y ur Ball t Card s
                ote     d if e uested
6. INFORM Ballot Officer: “Voter is a Regular Voter.”
   If 1 Voter requests to use Touchscreen, inform Ballot Officer to activate a Voter Card OR if
    2 Voter requests to use the Audio Unit, inform Ballot Officer to activate an Audio Voter Card.
7. DISCREETLY SHOW Ballot Officer the Voter s party preference on the Roster-Inde .

                       ID RE UIRED on the Signature Line
 ID RE UIRED - First time Voter in Federal Election Voter must show ID
See HAVA ID Requirements for a list of acceptable IDs
Available in English, Chinese, Spanish, Tagalog, and Vietnamese
 Hindi, Japanese, Khmer, and Korean, if applicable

1. GREET and ASK VOTER to state NAME and ADDRESS (residence).
   Example: G d m rn n ! May I ha e y ur name and address please
2. LOCATE name and address on the Roster-Index, then REPEAT name and address back to Voter
   (per Elections Code).
3. INFORM VOTER:
    There s an ID RE UIRED nd cat n n the R ster-Inde       h ch means y u are a f rst t me
     ter n a ederal Elect n D y u ha e any f rm f Ident f cat n ID
    a If       ter pr des re u red dent f cat n ID ask     ter t s n the R ster-Inde and
           r te res dence address   ll    steps - ab e
    b If   ter cann t pr de dent f cat n DO NOT let the        ter s n the R ster-Inde
         ter must te Pr s nally Inf rm Ball t Off cer          ter s t n Pr s nally
      Discreetly show Ballot Officer Voter s party preference on the Roster-Inde .              41
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                            BY MAIL on the Signature Line




  BY MAIL - Voter requested to Vote By Mail appears to the left of Voter s name .
 Voter was mailed Ballot to complete and an envelope to sign .
 Vote By Mail Voter can drop off Vote By Mail Envelope to any Polling Place in Alameda County.
       If Vote By Mail Voter wants to drop off Vote By Mail Ballot:
       1. Verify Vote By Mail Envelope is signed and sealed.
       2. Once verified, ask Voter to drop Vote By Mail Envelope into the Yellow Vote By Mail Ballots
          Trolley.
       If Vote By Mail Voter wants to vote at the Polling Place:
       Vote By Mail Voter must surrender both Vote By Mail Ballot and Envelope.
       1. Retrieve the Vote By Mail Ballot and Envelope
       2. Write VOID on the Vote By Mail Envelope
       3. Partially tear envelope and check for Ballot
       4. Place voided envelope and Ballot in Gray Voided Surrendered Vote By Mail Ballots Bag
       5. Vote By Mail Voter signs Roster-Inde , writes address
       6. Direct Voter to Ballot Officer and inform Ballot Officer: “Voter is a Regular Voter”
       7. Discreetly Show Ballot Officer the Voter s party preference on the Roster-Inde .
       If Vote By Mail Voter cannot surrender:
             B th     te By Ma l Ball t and En el pe OR
             E ther    te By Ma l En el pe r     te By Ma l Ball t
               DO NOT let the Voter sign the Roster-Inde .
           ter must te Pr s nally Inf rm Ball t Off cer           ter s t n Pr s nally
        D screetly Show Ballot Officer the Voter s party preference on the Roster -Inde .

                         VOTER NOT LISTED IN ROSTER-INDE
       If a Voter s name is not on the White Roster-Inde , check the Pink Roster-Inde .
       If Voter s name is on the Pink Roster-Inde , let the Voter sign the Pink Roster-Inde .
       If Voters name is not on both White Roster-Inde and Pink Roster-Inde :
       A. Locate Voter s assigned Precinct using the Street Polling Place Look-Up and direct
           Voter to their assigned Precinct.
       B. If Voter does not want to go to assigned Polling Place, Voter may vote Provisionally.
           Inform Voter: “This Precinct s Ballot may be different from the Ballot in your assigned
          Precinct. You may be missing on some Measures and Local Contest s on your Ballot.
          Would you like to vote Provisionally here ”
       If Voter wants to vote Provisionally, inform Ballot Officer    ter s   t n Pr   s nally

                              Friendly support is ust a phone call away!
     Call Inspector Hotline at 510 835 -0320 or Precinct Coordinator for questions or assistance

                OFFICIAL TABLE ROLES WILL BE ROTATED THROU HOUT THE DAY
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                   Roster-Index page
 Poll Worker fills in bubble next to Voter’s address.
 Voter signs Roster-Index and writes residence
  address.



                                           La Vern L. Abrams
                                                               5222 Peony Dr




 Difficult sounding names
  Politely ask Voter to spell out name; provide paper and pen to write down
   name for spelling purposes, if necessary.



   Roster-Index page: Crossover Voting
                  For Nonpartisan Voters
       Nonpartisan Voters may choose to vote the
        Nonpartisan Ballot.

       Nonpartisan Voters may also choose to vote
        the Ballot of any of the political parties listed
        below:
         American Independent Party
         Democratic Party
         Libertarian Party
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                      Primary Ballot Flow Chart
             Copies of the Primary Ballot Flow Chart are available in English,
                       Chinese, Spanish, Tagalog, and Vietnamese




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           Roster-Index page: Crossover Voting
          If Nonpartisan Voter chooses to vote the Nonpartisan Ballot, Voter may
           continue to Ballot Officer.
          If Nonpartisan Voter requests to vote one of the three Partisan Ballots, Poll
           Worker fills in bubble indicating the Ballot the Voter chose.




                                                      Lila Abrahamson
                                                                        1633 Bluebell Dr




         Inform Voter:
          “As a Nonpartisan Voter, you are entitled to vote Nonpartisan or in one of
           the following parties: …”

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You May Receive a Pink Roster-Index
 These Voters registered to vote after
  the White Roster-Index was printed.


 If a Voter’s name is not on the White Roster-Index, the Roster-Index
  Officer should then look up name in Pink Roster-Index (if any)

 Voter’s Options if name not on Pink Roster-Index
  A. Locate Voter’s assigned Polling Place using
     the Street Polling Place Look-Up and direct
     Voter to go to assigned Polling Place.
  B. If Voter does not want to go to assigned
     Polling Place, Voter may vote Provisionally.

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                 Roster-Index Don’ts
DO NOT remove Roster-Index pages
DO NOT affix tags on Roster-Index pages
DO NOT combine Roster-Index Binders (if more than one)

     Check the Roster-Index periodically:
 Bubble should be filled in if Voter has signed
 No notes/markings on Roster-Index pages
 “Comments” section is used for notes

                            Scenarios
If Roster-Index is missing:
 Call Precinct Coordinator or Inspector Hotline. A Backup Roster-Index
   will be sent as a replacement.
 If a Backup Roster-Index was used at the Polling Place, continue using
   the Backup even if the original Roster-Index is found later.
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                        Ballot Officer
              In charge of distributing Official Ballot and
                         activating Voter Card




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                               BALLOT OFFICER PROCEDURES
 Job Card          Ballot Cards come in a set on a pad, in order Card A, B, C, etc. .

      3            Each Party Ballot has a separate pad.
                   Each Bilingual version of the Ballot has colored tabs to represent each language.
                   Alternately distribute English Chinese and English Spanish Ballots.
Instructions on assisting Voters who sign the Roster-Inde
1. Greet the Voter
2. Verify Voter has signed Roster -Index and Verify the Voter’s Party Preference on the Roster-Index
3. Issue Voter the following For Voter who signed the Roster-Inde :
       1. Secrecy Sleeve
       2. Ballot Card s
       3. Ballot Card Stub s
       4. Pen
       How to Issue the Secrecy Sleeve, Ballot Card Stubs, and Set of Ballot Card s :
       Detach Set of Ballot Card s from the Ballot Pad
       Detach Ballot Card Stub s and hand it to the Voter
       Inform Voter: “This is your Ballot Card Stub s , the stub s is for you to keep.”
       Place Ballot Cards inside the Secrecy Sleeve
       Hand Secrecy Sleeve with the Ballot Card s inside to the Voter
       Inform Voter: “Please keep your Ballot Card s inside the Secrecy Sleeve.
                      Check both sides of the Ballot Card s for contests.
                      There are 34 candidates running for the office of United States Senator
                      and you can only vote for one! If you vote for more than one candidate,
                      your vote will not count for that contest.”
4. Ask Voter: “Do you need help in completing your Ballot ”
             If Voter does not need help, direct Voter to the Blue Voting Booth.
             Inform Voter: “You may now proceed to one of the Blue Voting Booths. There are
                              instructions provided in the Voting Booths on how to properly mark
                             your Ballot.”
             If Voter asks for help, inform Voter:
             “Please see our Demonstration Officer, who is ne t to the Voting Equipment and
               Trolleys, for assistance.”

For Voter who requests to vote using Audio Unit Touchscreen:
1. Greet the Voter
2. Verify Voter has signed Roster -Index and Verify the Voter’s Party Preference on
    the Roster-Index (Only Voters who sign the Roster-Index can vote on the Audio
    Unit/Touchscreen).
Follow the instructions on the “Voter Card Activation Instructions” attached to the back
of the Card Activator.
3. Issue the activated Voter Card to the Voter
   Inform Voter: “Please feel the small square chip on the backside of the Voter
                  Card. Insert Voter Card into the Touchscreen with the chip side
                  first, face down. After voting, please return Voter Card to a Poll Worker.”
                  Assist Voter with inserting Voter Card if needed.
If the Voter is not assigned to your Precinct and Voter wants to vote on the Touchscreen, direct Voter to
their assigned Precinct using the Street Polling Place Look-Up or to the Registrar of Voters Office at 1225
Fallon Street, Rm. -1 Oakland, CA 94612.
                                                                                                              47
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                     BALLOT OFFICER PROCEDURES CONT.
     Instructions on assisting Voters Voting Provisionally
     1. Greet the Voter
     2. Complete the Provisional Envelope
       2a. Write Precinct Number on top of Provis ional Envelope
       2b. Write Party Ballot Issued  im y ection n y
       2c Check reason why Voter is voting Provis ionally
       2d. Check the “ Voted VBM Ballot Enclosed” box on upper left hand corner if reason B is checked
                Mark only if
                reason B applies




     3. Issue Voter the following: Provisional Envelope, Ballot Card Stub s , Ballot Card s , and Pen
            How to Issue the Provisional Envelope, Ballot Card Stub s , and Ballot Card s :
             Detach Set of Ballot Card s from the Ballot Pad.
             Detach Ballot Card Stub s and hand it to the Voter
             Inform Voter: “This is your Ballot Card Stub s , the stub s is for you to keep.”
             Place Ballot Card s inside the Provisional Envelope
             Hand Provisional Envelope with the Ballot Card s inside to the Voter
             Inform Voter: “Please complete the TO BE COMPLETED BY VOTER section on Provisional
               Envelope. Check both sides of the Ballot Cards for contests. There are 34 candidates
               running for the office of United States Senator and you can only vote for one! If you vote
               for more than one candidate, your vote will not count for that contest. After marking your
               Ballot Cards s , place Ballot Card s inside the Provisional Envelope and seal the
               Provisional Envelope.” Follow step 4 in front of the Job Card
     Instructions on Spoiling a Ballot Card
     If a Voter makes a mistake on a Ballot Card and requests a replacement Ballot Card:
     1. Retrieve the Ballo t Card that Voter no longer wants. Check the ballot card
         type, Language, and for Primary Election Only Party Ballot Issued.
     2. Write “Spoiled” on the Ballot Card that Voter no longer wants.
     3. Place the Spoiled Ballot Card in Purple Spoiled Ballots Bag.
     4. Issue Voter the NEW, CORRECT Ballot Card. Reminder: Remove Ballot Card Stub
          and give it to the Voter.
     5. Inform Voter:
                nde t te             ote sh not ecei e mo e th n tot of th ee              ot
              s inc udin his he o i in         ot This is you second      ot     d    y offe
             you ny ssist nce
             If Voter does not need help, direct Voter to the Blue Voting Booth.
             If Voter asks for assistance, direct Voter to the Demonstration Officer.
     6. Write “Spoiled” on any remain ing Ballot Card(s), then deposit in to Purple
             Spoiled Ballots Bag (if applicable).

       UALIFIED WRITE-IN CANDIDATES - If there are qualified Write-In Candidates, make sure             ualified Write-In
     list is available in ALL languages on the Official Table.
                                     Friendly support is ust a phone call away!
                 Call Inspector Hotline at 510 835 -0320 or Precinct Coordinator for questions or assistance

                    OFFICIAL TABLE ROLES WILL BE ROTATED THROUGHOUT THE DAY


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                  Ballot Card(s)
All Ballot Cards are Bilingual,
each containing English and
one of the required languages.

A Ballot Card will have one of
the following combinations:
 English/Chinese
 English/Spanish
 English/Tagalog
 English/Vietnamese

 “1 BALLOT” may consist of either 1 Ballot Card or multiple
  Ballot Cards.
 Number of Ballot Cards for this Election:
                                 67
                                                   2

 NEW!
                              What’s New in 2016?
                  Voting for United States Senator



                                       There are 34 candidates
                                        running for the office of
                                        United States Senator.
                                       You can only vote for one!
                                       If you vote for more than
                                        one candidate, your vote
                                        will not count for that
                                        contest.

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            Ballot Officer Procedures
     Reminder:
      Alternately distribute English/Chinese and English/Spanish
       Ballots
     If Voter requests to vote on Touchscreen:
      Activate a Regular Voter Card or Audio
        Voter Card (for Voter who wants to use
        the Audio Unit)
      Follow the instructions on the “Voter
        Card Activation Instructions” attached to
        the back of the Card Activator.
      Issue activated Voter Card to the Voter.

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     Posted inside Blue Voting Booths


                                                    HOW TO VOTE
                                                    INSTRUCTIONS

                                                     TAMPERING
                                                    WARNING SIGN



                                         Do not remove signs
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                                              CEC   14105.3


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                    Demonstration Officer:
                      SCANNER PATROL
       In charge of assisting Voters regarding voting and scanning their Ballots,
        depositing Voted Ballots to the Trolleys, or assisting Voters who would
                           like to vote using the Touchscreen.




                      SCANNER MUST NOT BE LEFT UNATTENDED
      Poll Worker MUST be at the Scanner before the Voter!
      If Demonstration Officer is busy assisting a Voter, another Poll Worker MUST
       multitask!                            71




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                           DEMONSTRATION OFFICER PROCEDURES
                                      REGULAR BALLOT CARD S
  Job Card                 1. Greet the Voter and ask Voter if assistance is needed
        4                     If assistance is needed, provide assistance to the Voter.
                              (Instructions on how to mark the Ballot are posted in the Blue
                              Voting Booth and translated in different languages).
                         (After assisting the Voter, fill out Assisted Voter List CEC 14283)
                           2. Confirm Ballot Card s is in Secrecy Sleeve
                           3. Direct Voter to Blue Voting Booth

                                   SCANNING THE BALLOT S
         ONLY VOTERS WITH SECRECY SLEEVES MAY USE THE SCANNER
1. Check if Ballot Card Stub(s) has been detached - Ballot Stub(s) is for Voter to keep.
   Ballot Card Stub(s) must be removed before scanning the Ballot Card(s).
2. Instruct the Voter how to scan the Ballot Card(s) into Scanner.
     With the Ballot inside the Secrecy Sleeve (to protect Voter’s privacy), and top
        part of the Ballot showing, insert the Ballot into the Scanner, one Ballot Card at
        a time, or scan the Ballot Card(s) for the Voter.
3. Say: “Thank you for voting!” and give Voter “I Voted” sticker.
4. Retrieve the Secrecy Sleeve and Pen.
IMPORTANT: Scanner must not be left unattended!!!
                 If busy assisting a Voter, ask another Poll Worker to be by the Scanner.

                       VOTE BY MAIL AND PROVISIONAL BALLOT S
          DO NOT SCAN PROVISIONAL OR VOTE BY MAIL BALLOT CARD S !!!
Vote By Mail                                            Voting Provisionally
Voter dropping off a Vote By Mail                        Verify Provisional Envelope is
Envelope is not required to wait in                       completely filled out, Ballots
line.                                                     are inside Provisional
 Verify Voter signed Vote By Mail
                                                          Envelope, and Envelope is
  Envelope                                                sealed
                                                         Remove Provisional
 Deposit signed, sealed Vote By                          Envelope Stub and give stub
  Mail Envelope inside Yellow                             to Voter
  Trolley                                                Deposit Provisional Envelope
 ive Voter “I Voted” sticker                             inside Blue Trolley
                                                         ive Voter “I Voted” sticker


                                   TOUCHSCREEN AUDIO VOTERS
1. Greet the Voter and ask Voter if assistance is needed
   If assistance is needed, provide assistance to the Voter. Guide ines e din
      is i ity ensiti ity t the o s e      i   e in The Guide After assisting the Voter,
   fill out Assisted Voter List CEC 14283.
2. Inform Voter where to insert Voter Card or insert Voter Card for the Voter.
   (Make sure Voter Card is properly activated)
For Audio Voter: Hand Audio Unit to the Voter
When Audio Voter Card is correctly activated, a message “AUDIO VOTING ENABLED”
will appear on the Touchscreen. Audio Unit Transcript is located on the Touchscreen side
panel, used for Voters who need assistance with the Audio Unit. Retrieve Voter Card after Voter has used.


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     SCANNER TAPE ERROR MESSAGES                                      ASSISTING VOTERS
                                                           If a Voter is observed standing by the Blue
 Follow the instructions on the flip                        Voting Booth for more than 5 minutes and seems
 chart, located on top of the Scanner,
                                                            like Voter is needing assistance, approach Voter
 to process the Ballot according to the                     and ask if assistance is needed.
 error message printed on the Scanner
                                                           If a Voter asks to be assisted in a language, ask
 tape.                                                      Bilingual Poll Worker to assist.
                                                           If no Bilingual Poll Worker is available, call the
 Scanner cannot be used or Power Failure                    Language Hotline for Voter to receive language
                                                            assistance over the phone.
 Call the Registrar of Voters Office immediately           If in a Multiple Polling Place or Mega Polling
 notify Precinct Coordinator.                               Place, check if there is a Bilingual Poll Worker
 For Voter who signs the Roster-Index (with Secrecy         from the other Precinct(s) who can provide
 Sleeve), DO NOT issue/give Voter Provisional               language assistance.
 Envelope. Voted Ballot(s) must be deposited inside
 the Turquoise Trolley until Scanner is fixed or Power For Voters with disabilities, etiquette guidelines on
 is stored.                                            how to assist Voter are available in “The uide.”
 Process Voter voting Provisionally and Vote By Mail    All Voters seeking assistance must be assisted
 Voter, as mentioned on the front of this Job Card,                 promptly and accurately.
 accordingly.                                          Write Voter’s name onto Assisted Voter List.

     Touchscreen Audio Unit is not working                               OTHER DUTIES
 If the Accessible Voting Machine/Touchscreen is not  Check empty Blue Voting Booths once every hour
 working after completing troubleshooting               to ensure that no campaign literature or materials
 procedures, offer the Voter the following options      have been left behind by Voters.
 without expressing a preference for one option over  Check Blue Voting Booth to make sure “How to
 the other.                                             Vote Instructions” and “Tampering Warning Signs”
                                                        are posted.
 Voter s Options:                                      Check for Voters carrying Vote By Mail Envelopes:
 A. Offer the use of replacement Accessible Voting      If Voters are carrying Vote By Mail Envelopes to
      Machine and explain that it may take up to 2      be dropped off at the Polling Place, verify
      hours for the machine to arrive.                  envelope is signed and sealed. Direct Voter to
 B. Offer a paper Ballot and offer assistance.          deposit Vote By Mail Envelope inside the Yellow
 C. Offer the option of voting on an Accessible         Vote By Mail Ballots Trolley.
      Voting Machine housed at the Registrar of
      Voters Office, 1225 Fallon Street, Oakland, CA            IMPORTANT REMINDERS!!!
      94612 (Basement).                                Scanner must not be left unattended.
     Never direct a Voter to another Polling Place     Only Voters with Secrecy Sleeves will use the
       other than their assigned Polling Place.         Scanner.
         Call Inspector Hotline immediately if         Vote By Mail Voters and Voters voting
              Touchscreen is not working                Provisionally MUST NOT scan the Ballot
                                                        Card s .
    SCANNER OR TOUCHSCREEN UESTIONS                    Vote By Mail Envelope must be signed before

   Refer to “The uide” for issues that may arise with   depositing inside the Yellow Trolley.
              the Scanner or Touchscreen.              Provisional Envelope must be completely filled
                                                        out before depositing inside Blue Trolley.
                                Friendly support is ust a phone call away!
      Call Inspector Hotline at 510 835 - 0320 or Precinct Coordinator for questions or assistance

                OFFICIAL TABLE ROLES WILL BE ROTATED THROUGHOUT THE DAY


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             Processing Voters at the
                       Official Table
                                Types of Voters

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                  Regular Voter


   Follow the step-by-step instructions provided on the
    Official Table Job Cards to process a Regular Voter.




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                      Messages on Signature Line:
                           *ID REQUIRED*
     Identification is required for Voters voting for the first time in a Federal Election




           If *ID REQUIRED* appears to the left of Voter’s name, First
                  Time Voter in a Federal Election must show ID.
      1.     Inform Voter that a message on the Signature Line requires
             them to provide Identification.
      2.     See the HAVA ID Requirements (located on Official Table) or
             “What To Do If…” section in “The Guide” for for a list of
             acceptable IDs.
      3.     If the Voter has provided Identification, let them sign the
             Roster-Index and process as a Regular Voter.
      4.     If Voter CANNOT provide Identification, process as a Voter
             voting Provisionally, according to the “Voting Provisionally”
             section of Poll Worker Manual or “What To Do If…”




                             IDENTIFICATION
      DO NOT ASK FOR IDENTIFICATION FROM A VOTER UNLESS “ID
          REQUIRED” IS PRINTED NEXT TO THE VOTER’S NAME




                                        ID
       If Voter voluntarily shows an identification card, or other document, let
        Voter know that this is not required.



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           Messages on Signature Line:
                  *BY MAIL*
                    Voter requested to Vote By Mail




 Vote By Mail Voter received Ballot
  and Envelope through mail.
 Vote By Mail Voter can drop off
  signed, sealed Vote By Mail
  Envelope at any Polling Place in
  Alameda County and does not need
  to fall in line.
 Vote By Mail Voters may deposit
  Vote By Mail Envelopes into the
  Yellow Vote By Mail Ballots Trolley.




If Voter’s Name is
Highlighted in Yellow
 If Voters’ names are highlighted in YELLOW on the White Roster-Index,
  they are also Vote By Mail Voters.




       ONLY YOUR INSPECTOR CAN HIGHLIGHT VOTERS’ NAMES

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                    Messages on Signature Line:
                           *BY MAIL*
                               Voter requested to Vote By Mail
                               If Vote By Mail Voter wants to vote at the Polling Place,
                                  Voter must surrender both Vote By Mail Ballot and
                                                      Envelope



                                                                  Samantha Boyd 2226 Hillstone Dr


     1.     Retrieve the Vote By Mail Ballot and Envelope and mark VBM Envelope “VOID”
     2.     Partially tear envelope to check for Ballot
     3.     Place voided envelope and Ballot in Gray Voided/Surrendered Vote By Mail Ballots Bag
     4.     Fill in bubble next to Voter’s address
     5.     Vote By Mail Voter signs Roster-Index, writes address
     6.     Direct Voter to Ballot Officer and inform Ballot Officer: “Voter is a Regular Voter”



                    Messages on Signature Line:
                           *BY MAIL*
                               Voter requested to Vote By Mail


          If Vote By Mail Voter does not have Vote By Mail Ballot or Vote By Mail
           Envelope to surrender, DO NOT let the Voter sign the Roster-Index.

      Direct Voter to the Ballot Officer.
      Inform Ballot Officer: “Voter is voting Provisionally.”

     Additional information is also found in the “Voting Provisionally” section
                           of the Poll Worker Manual.




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            Voter Voting Provisionally
       Reasons why Voter must vote Provisionally
      Vote By Mail Voter who does not have ballot and envelope to surrender.
       Check one of the following:
 A.)
      Not received            Lost/Misplaced          Damaged


 B.)  Vote by Mail voter who does not have their VBM envelope but has
          their voted VBM ballot. (Vote by Mail ballot enclosed)

 C.)  Voter has not moved. Name not on Roster.

 D.)  Voter has moved within Alameda County and did not re-register.

 E.)  New Voter – Has not provided required identification.

 F.)     Other:

                                             85
                                     CEC    14217, 14310


                                      Notes
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     Voting Provisionally
      Provisional Envelope must be the same language as
       Ballot issued.
      Voter voting Provisionally signs Provisional
       Envelope only!

      TOP Portion: Filled out by Poll Worker
         Write Precinct Number on top of Provisional Envelope
         Write Party Ballot issued (Primary Election Only)
         Check reason why Voter is voting Provisionally
      BOTTOM Portion: Must be filled out by Voter!
      Provisional Voter’s Ballot must be placed inside
       Provisional Envelope.

            NEVER SCAN PROVISIONAL BALLOT(S)
                                                    86               CEC         14217, 14310


                     Completing Provisional Envelope
                                                                                         456789
                                                                                          NP

                                                           x




            George                      C                Strober                    x
        11 08 1962                                                                    510 272-6973
                                                      C 1 10 8 10 9
                      1225 Fallon St,                          Oakland,             CA        94612

                     02   08   2016     8000 Capwell Dr.            Oakland         CA      94621
                                                                                x

                                                                              GCSTROBER
                                                                                 06 08 2016


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    Extra Step: When checking reason B…


  
 Poll Worker checks the “Voted VBM Ballot Enclosed”
  on top left side


                                                                              456789
                                                                                  NP



                                         88




                    Voter Voting Provisionally



                        Issue Voter a Provisional
Don’t let the Voter     Envelope and Ballot Card(s);         Voter puts the Ballot Card(s) in
sign the Roster-Index   Fill out the Top portion and         the Provisional Envelope. Poll
                        let Voter fill out the               Worker removes Provisional
                        Bottom portion                       Envelope Stub and gives it to
                                                             Voter.




          DO NOT SCAN       Deposit Sealed Provisional Envelope
            BALLOT          inside Blue Provisional Ballots Trolley

                                                                                                61
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     Demonstration Officer:
     SCANNER PATROL

     Voting Provisionally: Preventing the Most Common Problems
     1. DO NOT scan a Ballot that should be placed inside a Provisional
        Envelope!
     2. Check that the Provisional Envelope has completely been filled out by
        the Voter, before depositing it into the Blue Provisional Ballots Trolley.
         If Political Party is left blank, Voter will be re-registered as “No Party
          Preference/Nonpartisan.”
         If envelope is not signed, the Ballot cannot be counted.
         If envelope is left blank, the Ballot cannot be counted.
     3. If Scanner is not working, DO NOT automatically give out Provisional
        Envelopes to all Voters. Process all Voters accordingly as usual.

      Scanner Patrol is at the Scanner BEFORE the Voter!




                                  Scenarios



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              Spoiled Ballot Procedure


       If Voter spoils, defaces a Ballot, the Voter shall at once
       return it to Poll Worker and receive another Ballot.
       Voter shall not receive more than a total of three
       Ballots, including Voter’s original Ballot (CEC § 14288).

        In case of multiple Ballot Cards, Voter may get up to
         three of EACH Ballot Card type (Card A, Card B, etc.).
         ONLY spoil the specific Ballot Card that the Voter
         wishes to replace.

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                                               CEC     14288




              Spoiled Ballot Procedure
   Poll Workers MUST write “Spoiled” on the Ballot Card!

If Voter makes a mistake on a Ballot Card and requests a
replacement Ballot Card:
1.     Retrieve the Ballot Card that Voter no longer wants and
       check the Ballot Card type (A, B, C, etc…if applicable) and
       the language.
2.     Write “Spoiled” on the Ballot Card that Voter no longer
       wants.
3.     Place the Spoiled Ballot Card in Purple Spoiled Ballots Bag.
4. Issue Voter the NEW correct Ballot Card (A, B, C, etc…) in the
       same language.
    a.     Remove Ballot Card Stub(s) and give it to the Voter.
5.     Inform Voter:
       “Under State Law, a Voter shall not receive more than a total of three
        (3) Ballot(s), including his/her original Ballot. This is your second
        Ballot Card for Card A (B, C, etc… if applicable). May I offer you any
        assistance?”

If Voter asks for a 3rd Ballot Card, follow the same procedure to
Spoil the Ballot Card.
                                                      94

                                               CEC     14288

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                     Scanner Tape Error Messages
                                            A Voter does not vote on the Ballot Card.
                                              The Ballot Card is completely blank.


                                            A Voter chooses more than the allowed
                                           number of candidates for an office and/or
                                            chooses “yes” and “no” for a measure.

                                            A Ballot Card may have an extra mark on it,
                                                         may be torn, etc.
                                            *If in a Multiple Polling Place, verify Voter’s
                                                           correct Precinct.

              When processing these messages, use and follow
              the Scanner Tape Error Messages flipchart found
              on top of the Scanner.
                                                       96




                      “UNSCANNED” VOTED BALLOTS
        Reasons for Unscanned Voted Ballots:
         Ballot is Defective and Voter does not want to
          complete another Ballot (Never re-scan Defective
          Ballot).
         Scanner cannot be Used.
             Polling Place remains locked at 7:00 a.m.                           Unscanned Voted Ballots go
             Broken                                                               inside Turquoise Trolley.
             Power Outage
                                  Power Failure at Polling Place
               Call the Registrar of Voters immediately; notify Precinct Coordinator
     Power failure DOES NOT mean all Voters vote Provisionally
      If Voter signs the Roster-Index, voted Ballots will be placed in the Turquoise Trolley
      Voting Provisionally – Follow Voting Provisionally Procedures
      Vote By Mail Voters – Follow Vote By Mail Procedures




              Let the Voter            Issue Voter a Ballot, Secrecy        Deposit Voted Ballot inside
          sign the Roster-Index               Sleeve and pen                  the Turquoise Trolley


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If Touchscreen is not Working, Voter may choose…
   Option A – Offer the use of replacement Accessible Voting Machine and explain that it may take up to 2 hours
    for the machine to arrive
   Option B – Offer a paper Ballot and offer assistance
   Option C – Offer the option of voting on an Accessible Voting Machine housed at the Registrar of Voters
    Office, 1225 Fallon Street, Oakland, CA 94612 (Basement)

   Options are listed on the back of the “Voter Card Activation Instructions” behind the
    Card Activator.
   A Voter voting on a Touchscreen must vote at Voter’s assigned Precinct or Registrar of
    Voters Office.
                                              Tally Form
                   To assess the level of assistance services needed on Election Day
                                         456789




On the Touchscreen Tally, mark the option that the Voter chose: Option A, Option B, or Option C.



              Refer to “What To Do If…” section
            in “The Guide” or Class notes for more
                 information on Voter Issues.




          “What To Do If…” section in                                        Class notes
                  “The Guide”
             (in ALL 5 languages)                       99




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     What to do if the Scanner Bin is full
     When the Scanner Public Counter screen reads 1000, an announcement will be
     made by the Inspector:
          y h e you ttention p e se y n me is                 m the nspecto fo
     this ecinct ue to nume ous      ot    ds sc nned the c nne in of this
     m chine is most fu s indic ted y the counte     o    m m in        ot t nsfe
     to this o m ed         ANN      T          A    A     T     hich i e se ed
     si ned y      o   o e s nd sto ed secu e y unti the ose of the o s

 PROCEDURES:

 1. Inspector removes ORANGE Security Seal on Scanner
    side door and places ORANGE Security Seal on the back
    of the Seal Verification Form




 2. Unlocks the Scanner side door and removes “Scanned
    Voted Ballots” from Large Bin only




 3. The removed “Scanned Voted Ballots” shall be placed in
    the empty ballot boxes labeled “Scanned Voted Official
    Ballots”




 4. After “Scanned Voted Official Ballots” boxes have been
    filled, Inspector seals filled boxes with official “Seal for
    Scanned Voted Official Ballots Box” with signatures of all
    Poll Workers




 5. The filled “Scanned Voted Official Ballots” boxes are
    placed near the Official Table ready to be taken to Return
    Center at the Close of Polls




       Inspector locks Scanner side door and seals it with a new
       ORANGE Security Seal.




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          Voters with Disabilities

  There are two federally mandated Acts that
 require the voting process be fully accessible
 to Voters with Disabilities and/or Voters with
                Specific Needs:

      Americans with Disabilities Act (ADA)
        Help America Vote Act (HAVA)

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                                Curbside Voting

         “A Voter wishing to vote at the Curbside may call the
         Registrar of Voters Office at (510) 272-6973 to make an
         appointment/arrangements, setting the time on Election
         Day when the Voter will come to the Polling Place so that a
         Poll Worker will be at the Curbside to meet and assist the
         Voter at the designatedtime.”

         “The Inspector of the Polling Place will be notified with a list
         of Voters with appointments for Curbside Voting.”




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                                            CEC    14282, 12280




                                Curbside Voting
         A Poll Worker checks outside frequently for Curbside Voters. A paper Ballot can be
             requested and brought to a Voter with Disabilities outside the Polling Place.
       Follow the procedures below:
       1. Take Roster-Index to Voter; process Voter on Roster-Index;
       2. Return Roster-Index to Official Table;
       3. Take Secrecy Sleeve (with Ballot inside), and pen outside to
            Voter; make sure Ballot Card Stub is given to Voter;
       4. After Voter privately completes Ballot, ask Voter to place Ballot
            inside Secrecy Sleeve; retrieve Secrecy Sleeve with Ballot and
            pen; ask Voter to wait for Ballot to be scanned;
       5. Return to Polling Place and scan voted Ballot; take “I Voted”
            Sticker;
       6. Inform Voter that voting process is completed; give “I Voted”
            Sticker to Voter;
       7. Write name of Voter on Assisted Voter List;
       8. Provide Street Index Officer with Voter’s address information
            so name can be crossed-through in the Street Index.
     Vote By Mail Voter  Follow Vote By Mail Procedures
     Voting Provisionally  Follow Voting Provisionally Procedures
                                                                            CEC   14282, 12280
     Refer to “What To Do If…” section in “The Guide”
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Supplies for Voters with Disabilities



         Accessible Entrance Sign
   (If there is an Accessible Entrance)



                                                      A-Frames




                         Card Activator



                                                                   Blue Voting Booth
                                                                     with Adapters
                                           110
                           Audio Unit               Magnifier
 Touchscreen




   Audio Unit Transcript                  Voter Card Activation Instructions
                                          (Can be found in Card Activator case)
                                          • ATTACH INSTRUCTIONS to the back of
                                             Card Activator by using Velcro tabs.


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                                Language Assistance
          Alameda County is required to provide election information and
           assistance in English, Chinese, Hindi, Japanese, Khmer, Korean, Spanish,
           Tagalog, and Vietnamese. Target Precincts are assigned Bilingual Poll
           Workers.

          The Registrar of Voters is committed to providing timely and accurate
           language assistance to Voters in Alameda County.

          Language Assistance is provided by way of:
               Bilingual Personnel
               Polling Place Signs and Notices
               Official Documents
               Ballots (Official Ballots, Sample Ballots, Facsimile Ballots)
               Voting Machine
               Reference Materials
                                                            112

                                                      CEC     12303




     ROV Cell Phone (provided to Inspector)
                                              If a Voter comes to the Polling Place needing
                                              language assistance and there is no Bilingual
                                                 Poll Worker available to assist the Voter:

                                                Call the number stored on the ROV Cell
                                                 Phone contacts. Phone number for
                                                 Language Assistance is also available in
                                                 “The Guide.”
                                                If Voter cannot receive help over the
                                                 phone, a Bilingual Troubleshooter will be
                                                 dispatched to the Precinct to assist.
                                                AFTER assisting the Voter, the Bilingual Poll
                                                 Worker then marks the Tally Form, under
                                                 Language Tally; fills out the Assisted Voter
           Voter Assistance Telephone Card
                                                 List.    113




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                            Tally Form
     To assess the level of assistance services needed on Election Day
                      456789



                                    3                               1


                                    4                               1


                                    2                               1


                                    2                               1




Mark the Language Tally if a Voter was assisted in a language other than English.
Write total number of Voters assisted for each language at the end of the night.




                         Poll Watchers

  Poll Watchers are members of the public engaged
   in observing activities at the Polling Place.
  Poll Watchers may remain in Polling Place BEFORE,
   DURING, AND AFTER Polls.
  Poll Watchers cannot touch voting equipment,
   documents, or INTERFERE IN ANY WAY with
   Opening, Voting, and Closing procedures.                       For more
                                                            information, see the
    DEPARTMENT OF JUSTICE OBSERVERS WILL IDENTIFY            “What To Do If…”
    THEMSELVES; THEY ARE ALLOWED TO TOUCH VOTING               section in “The
            EQUIPMENT AND DOCUMENTS.                               Guide.”
                                        115




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                         Voter                F R A U D
          If Voter wants to report
        suspected fraud, provide the
             following number:
            800-345-VOTE (8683)




                                                      Voter Assistance
                                                      Telephone Card
                  The Guide                    116




                 Election Day Reminders
     General Reminders
      Everyone receives two 1-hour breaks; no one will take break after 5:00 p.m.
      Be respectful and courteous to all Voters regardless of their race, culture, age,
       gender, or party affiliation.
      Do not discuss politics in Polling Place.
      No electronic devices, books, newspapers, or food allowed at the Official Table.


     Official Table Audits
      Poll Workers are referring to Official Table Job Cards.
      All Poll Workers are wearing Badges, Bilingual Poll Workers are wearing
       Bilingual Badges identifying what language they speak.
      Bilingual Ballots in English/Spanish, English/Chinese, English/Tagalog, and
       English/Vietnamese are available at all times.

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 Inspector Hands Out Closing Job Cards to
        Poll Workers by 5:30 p.m.


 Allows Poll Workers to review Closing Tasks before Polls
 Close
  Teamwork is the key – help your team member after
   finishing assigned tasks




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                 Registrar of Voters Rovers


                  6:00 p.m.
                            PROCEDURES


     Starting at 6:00 p.m., ROVERS from the Registrar of
     Voters will be tasked to go to Polling Places in their
     assigned area.
     The Rovers are not trained to fi any issues. Rovers
     are strictly responsible for picking up certain items
     from the Polling Place for delivery to the Registrar of
     Voters Office.
     See the ne t page for the list of items to be picked up
     by Registrar of Voters Rovers from your Polling Place.
     Inspect r Ensure that the tems are ready f r p ck up
     by referr n t the ne t pa e




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                Items to be picked up by
               Registrar of Voters Rovers
From 6:00 p.m. onwards, Rovers from the Registrar of
Voters will come to the Polling Place to only pick up
the following two items for delivery to the Registrar of
Voters Office:




   Yellow   te By Ma l Ball ts Trolley      Blue Pr   s nal Ball ts Trolley

     Inspector must close and seal the deposit slot on both Trolleys with a
                  WHITE Pull-Tite Security Seal at 6:00 p.m.


         After Trolleys have been sealed picked up:


   Any Vote By Mail Envelopes, Provisional
 Envelopes, and Completed Voter Registration
 Forms must be deposited into the sealed Lime
  BM Pr s nal Ball ts Supplemental Bag.




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                               Closing Job Cards
                                            Closing Tasks
        Inspector                     Judge                     Clerk 1                    Clerk 2
     Hand Out Job Cards            Use Job Card               Use Job Card               Use Job Card
        Touchscreen                  Scanner                  Touchscreen                  Scanner
                             Unload Turquoise Trolley      Roster Signatures            Unused Ballots
                                                              Official Table          Polling Place Signs
                                                             Card Activator
     Official Ballot Tally
      Pack Red Trolley        Pack Turquoise Trolley          Scanner Bins
                                  Voting Booths             Items to leave at          Items to leave at
                                                              Polling Place              Polling Place
                              Assists with other Tasks   Assists with other Tasks   Assists with other Tasks
       Return Center               Return Center              Return Center             Return Center
                                    (if assigned)              (if assigned)             (if assigned)




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CLOSING
  THE
 POLLS
8:00 p.m. – 9:00 p.m.

                                                The Polls are now Closed!


                                                      CEC 14401




At 8:00 p.m. a Poll Worker declares at Polling Place entrance :
  “The Polls are now Closed!”

 A Poll Worker stands behind the last Voter in line to indicate
  that no more Voters can fall in line to vote.
 Voter who is in line by 8:00 p.m. is allowed to vote.
 Voter who arrives after the Polls have Closed is not allowed to
  vote, even if voting is still ongoing (CEC 14401, 14402).

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                           CEC   14401, 14402

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                          CLOSING THE POLLS
                      All Poll Workers assist with Closing!




     Items needed for Closing procedures:
      Closing Polls Supply Bag
      Official Ballot Tally
       (located inside Roster-Index Binder)
      Seal Verification Form
      Scissors
      Tape
      Security Seals
      Pens
      Certificate of Performance
       (for Touchscreen and Scanner)            125




                          CLOSING THE POLLS
                         Refer to the following materials:




                      The Guide
                                              Red Trolley    Turquoise Trolley
                                               Checklist         Checklist




                                                            FRONT            BACK
             Closing Job Cards                  126         Return Center Card


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 Closing               1. Hands out Closing Job Cards to Poll Workers by 5:30 p.m.:
                      Closing Job Card 1, Closing Job Card 2, Closing Job Card 3, Closing Job Card 4
Job Card                         Allows Poll Workers to review Closing T asks before Polls Clo se


       1            If Precinct has 3rd Clerk, asks 3rd
                    Clerk to assist Inspector with
                                                                 If Precinct has 4th Clerk, asks 4th
                                                                 Clerk to assist Judge with Closing the
                    Closing the Polls on Touchscreen             Polls on Scanner and assist other
                    and assist other Poll Workers.               Poll Workers.

   2. Closes the Polls on the Touchscreen 2 Person Rule
   Use the instructions attached to this Job Card
   Clerk 1 will assist in Closing the Polls on Touchscreen
Write TOTAL VOTES CAST ON TOUCHSCREEN ON BO                 8 ON THE
OFFICIAL BALLOT TALLY


   3. Completes Roster-Inde          Official Ballot Tally




                                                                       Record Totals in
                                                                         every Bo




   Bo   1    Total Official Poll Ballots received
              (Already preprinted on Official Ballot Tally)
   Bo   2    Total Official Poll Inspector Ballots received
              (Already preprinted on Official Ballot Tally)
   Bo   3    Total Unused Official Poll Ballots
   Bo   4    Total Unused Official Poll Inspector Ballots
   Bo   5    Total Spoiled Official Ballots
              (Count total Ballots from Purple Sp led Ball ts Bag)
   Bo   6    Total Unscanned Voted Official Ballots
              (Count all Unscanned Voted Official Ballots from TUR UOISE Trolley)
              Unscanned Voted Official Ballots will only occur if the Scanner fails to accept
              the Ballot. Such normally voted Ballots are placed in the TUR UOISE Trolley.
              After counting, place Ballots inside Teal Unscanned          ted Ball ts Bag.
              Write total on bag label. Teal Unscanned      ted Ball ts Ba    es nt the RED
              Tr lley
   Bo   7    Total Scanned Voted Official Ballots
              (Shown on Sc anner Public Counter)
   Bo   8    Total Votes Cast on Touchscreen
              (Shown on Touchscreen Public Counter)
   Bo   9    Total Signatures on Roster White and Pink pages .

   Fill in bubble s on Official Ballot Tally if a Voter s name is on the Assisted Voter
    List and or the “Comments” section was used.
   Count “Voided” Vote By Mail Envelopes in Gray       ded Surrendered    te By Ma l Ball ts
    Bag. Write total on bag label. Gr ay Voided Surrendered Vote By Mail Ballots Ba
       es ns de TUR UOISE Tr lley



                          Friendly support is ust a phone call away!
 Call Inspector Hotline at 510 835 -0320 or Precinct Coordinator for questions or assistance
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        4. Packs the Red Trolley
     Follow the instructions below or the instructions attached to the Red Trolley or the instructions in
     “The uide.”

                      Scanner and Touchscreen Pink Anti-Static Bags
                       Place into the pouch inside the Red Trolley visible
                       from the outside.
                      Roster-Inde Binder
                       Place into the pouch inside the Red Trolley
                       visible from the outside.
                      3 Copies of Street Inde
                       Place into the pouch inside the Red Trolley
                       visible from the outside.
                      Orange Wr te-In Ball ts Bag
                       Place bag inside the Red Trolley.

                                                                                    ip and secure Red Trolley
                      Teal Unscanned       ted Ball ts Bag
                                                                                 with a White Pull-Tite Security
                       Place bag inside the Red Trolley.                              Seal when p acking is
                                                                                           completed

                      Lime BM Pr       s nal Ball ts Supplemental Bag
                       Place bag inside the Red Trolley.


                      Cell Phone
                       Place into the pouch outside the Red Trolley.

      5. Delivers items to Return Center (2 Person Rule
     Inspect r and ne      P ll W rker del er the f ll   n                   tems
        Red Trolley (sealed w ith a Whi te Pull -Tite Security Seal)
        Turquoise Trolley (w ith al l requi red i tems and sealed w ith a Whi te Pull -Tite Security Seal)
        V-VPAT Printer in black canvas bag (DO NOT PUT IN TROLLEYS)
        Door Wedges (if any)
        Light (i f any)
        Rubber Mat (i f any)




                                                       V-VPAT                 Light if any     Rubber Mat
                                                       Printer                                   if any
            Red Trolley          Turquoise Trolley                Door Wedges
                                                                     if any
     Checks the following before leaving Polling Place:
      Official Table is empty
      Scanner Bins (packed with items to be returned, rolled near Voting Equipment Delivery Cart)
      Touchscreen (rolled near Voting Equipment Delivery Cart)
      Signs Removed (Inside and Outside Signs, E CEPT copies of            e tific te of e fo m nce
       labeled “POST OUTSIDE”)
      Blue Voting Booths (dismantled), A-Frames, Tri-Fold, Voter Information Center (dismantled) are
       placed on Voting Equipment Delivery Cart
      Sealed B oxes of Unused Official Poll B allots are in Offic ial B al lots Del ivery Cart
      Sealed B oxes of Unused Official Poll Inspector B al lots are in Off icial B allots Delivery Cart
      Sealed Empty B oxes for Of fic ial Pol l B al lots and Offic ial Poll Inspector B allots (if any) are
       in Official Ballots Delivery Cart
      Official Ballots Delivery Cart, w ith all boxes inside (as l isted above), has the door handle
       locked and secured with one 1 White Pull-Tite Security Seal to the Cart itself, and has the
       Ballot Cart cover locked and secured with two 2 White Pull-Tite Security Seals, as found in
       the morning. Place Official Ballots Delivery Cart near the Voting Equipment Delivery Cart.
      Polling Place is Clean and Secure
                                  Thank y u f r ser n as a P ll W rker!!!
                ur eff rts t ser e the     ters f Alameda C unty are s ncerely apprec ated!

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    Closing                             Inspector’s Closing
   Job Card
      1                                     Assigned Tasks
  Task 1:
   Hands Out Closing Job
   Cards to Poll Workers by
   5:30 p.m.
   (Allows Poll Workers to review
   Closing Tasks before Polls Close).
  Task 2:
   Closes the Polls on the
   Touchscreen
   (2 Person Rule)




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                            Task 1: Closes the Polls on Scanner 2 Person Rule
                                Use the instructions attached to this Job Card
      Closing                   Clerk 2 will assist in Closing the Polls on Scanner
                               ives the Total Votes cast shown on Scanner LCD Screen to the Inspector
     Job Card                Inspector writes total number on Box 7 on Official Ballot Tally
                             Rolls Scanner near Voting Equipment Delivery Cart after Closing.


   Task 2: Unloads Turquoise Trolley
Cuts the White Pull-Tite Security Seal and tapes it to the reverse side of the Seal er f cat n rm
Opens Turquoise Trolley and follows the instructions below OR the instructions attached to the
Teal Unscanned      ted Ball ts Bag.




   Task 3: Packs Turquoise Trolley
Follow the instructions below OR the instructions attached to the Turquoise Trolley OR the
instructions in “The Guide.”
    ray oided u ende ed ote y           i     ots Bag
   Purple poi ed      ots Bag
   Sealed Box(es) and Empty Box(es) of Scanned
    Voted Official Ballots
   Precinct Coordinator/Inspector Routine Visit Sign Off Sheet
   Tally Form
   Security Seals Envelope
    (Completed Seal Verification Form enclosed)
   Scanner Keys
    (after Scanner Bins have been packed and Scanner is locked)
   Secure Turquoise Trolley with a White Pull-Tite Security Seal
                 Turquoise Trolley must be delivered to the Return Center
                                                    1

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        Task 4: Dismantles Blue Voting Booths




                 Step 1                          Step 2                           Step 3
        Leave all signs posted          From inside Booth,              Remove Privacy Shield in
         inside Blue Voting Booth.        unsecure Privacy Shield by       grooves in base of Booth.
                                          pulling bungee cords
                                          through half-moon slits in
                                          Shield.




                 Step 4                          Step 5                           Step 6
        Remove and detach leg           Unlock Adapter with locking  Put Privacy Shields and
         connections from Blue            tab on back of Adapter        legs into the deep side of
         Voting Booth.                    (Place in Scanner Bin).       Blue Voting Booth. Hook
                                                                        “S” to secure legs and
                                                                        Shield.

                                                                       Ass sts ther P ll
                                                                       W rkers th Cl s n
                                                                       Tasks
                                                                       R des th the Inspect r
                                                                       t the Return Center
                 Step 7                          Step 8                 f ass ned
        Latch both Booths together      Stack Blue Voting Booths     On the “Combined Oath of
         to secure.                       on the Voting Equipment      Office and Payroll” form, name
                                          Delivery Cart.               of the Poll Worker riding with
                                                                       the Inspector must be circled.



                           Friendly support is ust a phone call away!
     Call Inspector Hotline at 510 835 -0320 or Precinct Coordinator for questions or assistance

                               Thank y u f r ser n as a P ll W rker!!!
               ur eff rts t ser e the  ters f Alameda C unty are s ncerely apprec ated!
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   Closing
                                       Judge’s Closing
  Job Card   2
                                       Assigned Tasks
  Task 1:
   Closes the Polls on Scanner
   (2 Person Rule)
  Task 2:
   Unloads Turquoise Trolley




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